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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Humane Consumer LLC,

                          Plaintiff(s),                                18-cv-5622 (PKC)

                 -against-                                         MEDIATION REFERRAL
                                                                  ORDER DECLARING CASE
COB Ecommerce Empire LLC, d/b/a                                   ELIGIBLE FOR MEDIATION
Keeva Orangics, et al.,

                           Defendant(s).
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To the Clerk of Court:
1.      This case is determined to be eligible for mediation as to all issues.
2.     The entire mediation process is confidential. The parties and the Mediator may not
disclose information regarding the process, including settlement terms, to the Court or to third
persons unless all parties agree. The identity of the Mediator is not to be disclosed to the Court.
However, persons authorized by the Court to administer or evaluate the mediation program may
have access to information necessary to administer or evaluate the program; parties, and counsel
and mediators may respond to confidential inquiries or surveys by said persons authorized by the
Court to administer or evaluate the mediation program.
3.      The mediation process shall be treated as a compromise negotiation for purposes of the
Federal Rules of Evidence and state rules of evidence. The Mediator is disqualified as a witness,
consultant, attorney, or expert in any pending or future action relating to the dispute, including
actions between persons not parties to the mediation process.
4.      Entry of this case into the Court’s mediation program shall not be deemed to change any
timetable set by the Court contained in a scheduling order or otherwise governing the completion
of discovery, motion practice or trial date.

5.      Mediation session is scheduled for December 11, 2018 at 10:00 a.m. Mediator may
adjust date of first session by seven days.

        SO ORDERED.




Dated: New York, New York
       November 16, 2018
